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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                 Plaintiff,                            4:13-CR-3130

vs.
                                                TENTATIVE FINDINGS
DAGOBERTO CASTILLO LUJAN,

                 Defendant.

     The Court has received the revised presentence investigation report
(PSR) in this case. The defendant has objected to the PSR (filing 301) and
moved for a variance based upon proposed changes to the Guidelines' drug
quantity tables. Filings 302 and 303.

      IT IS ORDERED:

1.    The Court will consult and follow the Federal Sentencing Guidelines to
      the extent permitted and required by United States v. Booker, 543 U.S.
      220 (2005), and subsequent cases. In this regard, the Court gives notice
      that, unless otherwise ordered, it will:

      (a)   give the advisory Guidelines respectful consideration within the
            context of each individual case and will filter the Guidelines'
            advice through the 18 U.S.C. § 3553(a) factors, but will not afford
            the Guidelines any particular or "substantial" weight;

      (b)   resolve all factual disputes relevant to sentencing by the greater
            weight of the evidence and without the aid of a jury;

      (c)   impose upon the United States the burden of proof on all
            Guidelines enhancements;

      (d)   impose upon the defendant the burden of proof on all Guidelines
            mitigators;

      (e)   depart from the advisory Guidelines, if appropriate, using pre-
            Booker departure theory; and
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      (f)   in cases where a departure using pre-Booker departure theory is
            not warranted, deviate or vary from the Guidelines when there is
            a principled reason justifying a sentence different than that
            called for by application of the advisory Guidelines, again without
            affording the Guidelines any particular or "substantial" weight.

2.    The defendant objects to several aspects of the PSR. First, the
      defendant objects to the probation officer's drug quantity
      determination. The probation officer found that the defendant should
      be held responsible for 3.18 kilograms of methamphetamine mixture,
      resulting in a base offense level of 34. PSR at ¶ 49. In their Rule
      11(c)(1)(B) plea agreement, the parties stipulated that the defendant
      should be held responsible for at least 50 grams of actual
      methamphetamine (for a minimum base offense level of 32). Filing 215
      at 3.

      It is the government's burden to prove drug quantity by a
      preponderance of the evidence. United States v. Young, 689 F.3d 941,
      945 (8th Cir. 2012). And it is well settled that "[t]he PSR is not
      evidence. If the defendant objects to any of the factual allegations
      contained therein on an issue on which the government has the burden
      of proof . . . the government must present evidence at the sentencing
      hearing to prove the existence of the disputed facts." United States v.
      Mann, 701 F.3d 274, 310 (8th Cir. 2012). The government should
      therefore be prepared to present evidence as to the quantity of drugs
      attributable to the defendant. The Court will resolve this objection at
      sentencing.

      Second, the defendant objects to the probation officer's determination
      that he is not eligible for safety valve relief, pursuant to U.S.S.G. §
      5C1.2, as well as the resulting two-level reduction in the offense level
      pursuant to U.S.S.G. § 2D1.1(b)(16). PSR ¶¶ 42, 50. There are five
      statutory prerequisites for safety-valve eligibility, and it is undisputed
      that the defendant meets the first four. See 18 U.S.C. § 3553(f)(1)-(4).
      The issue is whether the defendant has satisfied the fifth prerequisite,
      which requires that, not later than the time of the sentencing hearing,
      the defendant must have truthfully provided to the government all
      information and evidence the defendant has concerning the offense or
      offenses that were part of the same course of conduct or of a common
      scheme or plan. 18 U.S.C. § 3553(f)(5).


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      The Court will resolve this matter at sentencing, following an
      evidentiary hearing. In doing so, the Court will be mindful of the fact
      that it is the defendant's burden to show affirmatively that he has
      satisfied each requirement for safety valve relief, including whether he
      has provided truthful information to the government. United States v.
      Alvarado-Rivera, 412 F.3d 942, 947 (8th Cir. 2005).

      Third, the defendant objects to the probation officer's determination
      that he is not eligible for a reduction for his role in the offense,
      pursuant to U.S.S.G. § 3B1.2. PSR ¶¶ 43, 52. It is the defendant's
      burden to establish that a minor-participant reduction is warranted.
      United States v. Gayekpar, 678 F.3d 629, 639 (8th Cir. 2012). The Court
      will resolve this objection at sentencing, following an evidentiary
      hearing.

      Finally, the defendant has moved for a variance, requesting that the
      Court vary downward by two levels based upon the proposed
      amendments to the offense levels associated with the drug quantity
      tables. Filings 302 and 303. The Court will resolve this matter at
      sentencing.

3.    Except to the extent, if any, that the Court has sustained an objection,
      granted a motion, or reserved an issue for later resolution in the
      preceding paragraph, the parties are notified that the Court's tentative
      findings are that the presentence report is correct in all respects.

4.    If any party wishes to challenge these tentative findings, that party
      shall, as soon as possible (but in any event no later than three (3)
      business days before sentencing) file with the Court and serve upon
      opposing counsel an objection challenging these tentative findings,
      supported by a brief as to the law and such evidentiary materials as are
      required, giving due regard to the local rules of practice governing the
      submission of evidentiary materials. If an evidentiary hearing is
      requested, such filings should include a statement describing why a
      hearing is necessary and how long such a hearing would take.

5.    Absent timely submission of the information required by the preceding
      paragraph, the Court's tentative findings may become final and the
      presentence report may be relied upon by the Court without more.



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6.    Unless otherwise ordered, any objection challenging these tentative
      findings shall be resolved at sentencing.

      Dated this 23rd day of June, 2014.

                                           BY THE COURT:



                                           John M. Gerrard
                                           United States District Judge




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